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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
DELAWARE BSA, LLC
                                                        (Jointly Administered)
                          Debtors

         NOTICE OF SERVICE OF CENTURY’S REQUESTS FOR PRODUCTION OF
                      DOCUMENTS DIRECTED TO DEBTORS

          I hereby certify that on February 1, 2021, a true and accurate copy of (1) Century’s First

Set of Interrogatories to the Coalition of Abused Scouts for Justice, (2) Century’s First Set of

Requests for Admission to the Coalition of Abused Scouts for Justice, and (3) Century’s First

Request for Production of Documents to the Coalition of Abused Scouts for Justice were served

in the manner indicated on the parties identified below.

Via Email

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Dated: February 1, 2021                  Respectfully Submitted,


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                                         North America, Ace Insurance Group
                                         Westchester Fire Insurance Company and
                                         Westchester Surplus Lines Insurance Company




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